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Attorneys for Plaintiff Ripple Labs, Inc.

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF CALIFORNIA
RIPPLE LABS, INC., CASE NO.: 3:15-cv-04565 MEJ

A CALIFORNIA CORPORATION,
JOINT MOTION FOR ENTRY OF
Plaintiff, CONSENT FINAL ORDER

VS.

KEFI LABS, LLC, A WASHINGTON
LIMITED LIABILITY CORPORATION;
PAUL STAVROPOULOS, AN
INDIVIDUAL; DEAN
STAVROPOULOS, AN INDIVIDUAL;
AND BRANDON ONG, AN
INDIVIDUAL

Defendants

 

 

Plaintiff, Ripple Labs, Inc., and Defendants, Kefi Labs, LLC, Paul Stavropoulos,
Dean Stavropoulos and Brandon Ong, respectfully request that the Court enter a Consent

Final Order in the form attached to this Motion.

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JOINT MOTION FOR ENTRY OF CONSENT FINAL ORDER

 
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Date: December _, 2015

Date: December 41. 2015

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Respectfully submitted,

/s/ Lawrence Gordon

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KEFI LABS, LLC
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JOINT MOTION FOR ENTRY OF CONSENT FINAL ORDER

 
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CERTIFICATE OF SERVICE

I, Cathy Guzman, am employed in the County of Los Angeles, State of
California. I am over the age of 18 years and not a pany to the above-captioned
matter. My business address is Promenade West, 88 est Ist Street, Suite 315,
Los Angeles, California 90012.

On December 8, 2015, I served the foregoing document described as Jomr
JOINT MOTION FOR ENTRY OF CONSE FINAL ORDER on the
interested parties herein as follows:

Kefi Labs Defendants
1623 Bellevue Ave., Apt. 601
Seattle, WA 98122

Paul Stavropoulos
1623 Bellevue Ave., Apt. 601
Seattle, WA 98122

Dean Stavropoulos
162 Wilton Drive, Apt. 1
Campbell, CA 95008-4053

Brandon Ong
9450 Gilman Drive, #10365
La Jolla, CA 92092

[xX] BY MAIL: By placing such envelope(s) with postage thereon fully prepaid in the
designated area for outgoing mail in accordance with this office's practice, whereby
the mail is deposited in a U.S. mailbox in the City of Los Angeles, California after the
close of the day's business. I am aware that on motion of the party served, service is
presumed invalid if the postage cancellation date or postage meter date is more than
one day after the date of this affidavit.

[ | BY FACSIMILE: By transmitting a true and correct copy thereof into a facsimile
machine addressed to the person, address and telephone number shown above.

[ ] BY ELECTRONIC/E-MAIL SERVICE: By transmitting a true and correct copy of
said DOCUMENT to the e-mail address(es) herein and verifying completion of that
transmission.

I declare under penalty of perjury under the laws of the State of California that
the foregoing is true and correct.

Executed on December 8, 2015 at Los Angeles, County, California.

/s/ Cathy Guzman
Cathy Guzman

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JOINT MOTION FOR ENTRY OF CONSENT FINAL ORDER

 
